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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MARYLAND


ASHLEY AMARIS OVERBEY, et al.,         )
                                       )
                                       )
                 Plaintiffs,           )
                                       )
     v.                                ) Civil Action No. DKC-17-cv-1793
                                       )
THE MAYOR AND CITY COUNCIL             )
OF BALTIMORE,                          )
                                       )
                                       )
                 Defendant.            )
                                       )

             MEMORANDUM IN SUPPORT OF PLAINTIFFS’
             MOTION FOR ATTORNEYS’ FEES AND COSTS

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     November 9, 2020
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                                 INTRODUCTION

      As the City of Baltimore has noted repeatedly, this is a First Amendment and

racial justice case of “exceptional importance.”1 Through their successful legal

challenge to governmental use of non-disparagement and nondisclosure clauses to

shield law enforcement abuses from disclosure, plaintiffs Ashley Overbey and

Baltimore Brew set a precedent with lasting implications—here in Maryland and

across America. By ensuring protection for the constitutional rights of misconduct

victims to speak freely and the media to report on police discrimination and

violence, the Court rulings in this litigation help ensure government transparency

and accountability at a critical moment of racial reckoning in our nation.2

      Plaintiffs filed this lawsuit against the Mayor and the City Council of

Baltimore, alleging violations of their fundamental rights arising under the First

Amendment. Plaintiffs’ claims stemmed from a City of Baltimore policy, used


1See, e.g., Pet. for Reh’g and Reh’g En Banc, No. 17-2444 (4th Cir. Jul. 23, 2019),
ECF 79 at 2, 14.
2 See First Amendment – Nondisparagement Clauses – Fourth Circuit Holds That
Nondisparagement Clause In Settlement With The Government Violates The First
Amendment – Overbey v. Mayor of Baltimore, 930 F.3d 215 (4th Cir. 2019), 133
Harv. L. Rev. 1460 (Feb. 2020); Delaney E. Anderson, Note, Overbey v. Mayor of
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Nimmer on Freedom of Speech § 15:59.50 (2020 updated ed.) (“The Fourth Circuit's
decision in Overbey is quite powerful. It stands for the proposition that First
Amendment values inform the public policy considerations that animate judicial
decisions over the enforceability of contracts—and that those considerations may
trump enforcement of a non-disparagement clause.”); Reporting On NDAs And
#MeToo: How the Press May Obtain Standing to Challenge NDAs, 35
Communications Lawyer 7 (Fall 2019) (noting the importance of the Overbey ruling
to the media’s ability to engage in reporting on misconduct shielded by NDAs).
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pervasively in police abuse cases, conditioning settlement of claims against the

Baltimore Police Department (“BPD”) on plaintiffs—the vast majority of whom are

Black and Brown—agreeing to a non-disclosure/non-disparagement clause (“NDA”)

requiring them to keep silent about all aspects of their lawsuit, including the

precipitating events. The policy further empowered the City to claw back half of a

settling plaintiff’s settlement proceeds if it deemed the NDA to have been violated;

or, as in Ms. Overbey’s case, to pay only half of the agreed-upon proceeds in the first

place (since as of the time the City deemed Ms. Overbey to be in violation it had not

yet paid her).

      Three years of litigation, highlighted by a precedent-setting appellate

decision by the Fourth Circuit and successful motions practice on remand, has

resulted in complete vindication of plaintiffs’ rights. Accordingly, consistent with 42

U.S.C. § 1988, plaintiffs—as prevailing parties—are entitled to recovery of their

reasonable attorneys’ fees and costs incurred in achieving this excellent result.

      PLAINTIFFS’ HAVE ACHIEVED EXCEPTIONAL SUCCESS IN THIS
      CASE, WARRANTING FULL REIMBURSEMENT OF THEIR
      REASONABLE ATTORNEYS’ FEES AND EXPENSES.

             Course of Litigation.

      The ACLU began work on this case in summer of 2015, when Ashley Overbey

raised the possibility of challenging the City’s enforcement of an NDA against her to

withhold half of settlement proceeds from her underlying police abuse case.

Following a search for cooperating counsel that lasted several months, ACLU

engaged Crowell & Moring in winter of 2016 to join with the ACLU in litigating the



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case.3 Because the City’s treatment of Ms. Overbey reflected a broader policy of

prohibiting victims of police brutality who filed and then settled lawsuits against

the BPD from discussing the facts and circumstances of their lawsuits, Crowell &

Moring and the ACLU were also hired by the Baltimore Brew, a local news

organization, to challenge the City’s policy more broadly.

      On June 30, 2017, plaintiffs filed suit4 against the defendants, the Mayor and

City Council of Baltimore, and the BPD. The Complaint challenged the

constitutionality and propriety of the defendants’ use of the NDA in its settlement

agreements with victims of police brutality.

      In Ms. Overbey’s case, when she purportedly breached the NDA by

responding to derisive comments made about her on a Baltimore Sun message

board, following the newspaper running an online article about her settlement in

which the City Solicitor disparaged her, the City withheld $31,500 of her $63,000

settlement. In the complaint filed in this lawsuit, Ms. Overbey alleged that through

the NDA, as enforced through the liquidated damages provision of the settlement

agreement, the City punished her for her exercise of protected speech. She


3 As attested by ACLU of Maryland Legal Director Deborah Jeon, the ACLU legal
program is dependent on law firm collaboration with the organization in order to
staff its litigation. In cases like this one, involving complex constitutional claims
against the State of Maryland or the City of Baltimore, many Maryland law firms
hesitate to work with the ACLU due to conflicts with the firms’ other clients or
governmental work. Decl. of Deborah A. Jeon ¶¶ 6, 11, attached hereto. In such
instances, the ACLU has no other choice but to partner with Washington, D.C. or
New York law firms for which those conflicts do not arise.
4Plaintiffs filed their Amended Complaint (ECF 5) on June 30, 2017, immediately
after their incorrectly filed initial Complaint (ECF 1) on June 29, 2017.


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therefore challenged the NDA as an infringement of her First Amendment right to

freedom of speech.5 Intertwined with Ms. Overbey’s claims and similarly grounded

in the First Amendment, the Baltimore Brew broadly challenged the City’s use of

NDAs generally from its standpoint as a media organization, emphasizing the effect

that the City’s use of NDAs in more than 95% of its police abuse settlements had on

the news journal’s ability to gather newsworthy information from victims of police

abuse, directly impinging its own First Amendment rights. The Brew alleged that,

on multiple occasions, plaintiffs who settled lawsuits against the BPD refused to

speak to the Brew about their lawsuits expressly because of the non-disparagement

provisions in their respective settlement agreements. The Brew’s First Amendment

claim challenged the City’s institutional use of NDAs as an unconstitutional

impingement on the ability of the press to collect and report on facts of public

concern.

         Shortly after filing suit, defendants moved to dismiss plaintiffs’ claims. After

this motion was filed, but before it was ruled on, retired Fourth Circuit Judge Andre

Davis took over as Baltimore City Solicitor, publicly declaring that his top priority

in that role would be implementation of police reform in the City.6 For this reason,

plaintiffs reached out to Mr. Davis and invited discussion of the issues at stake in

the case, to determine whether a negotiated resolution of the issues could be


5   She also brought related contract and other state-law claims against the City.
6See H. Cobun, “Baltimore Native Andre Davis eager to guide hometown through
consent decree as new City Solicitor,” Maryland Daily Record, Oct. 15, 2017,
available at: https://thedailyrecord.com/2017/10/15/davis-city-solicitor-newsmaker/


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achieved. Counsel met to discuss such an option, but unfortunately, no compromise

could be reached, and the City pressed on with efforts to dismiss the case.

      Judge J. Frederick Motz was initially assigned to the case and issued an

unreasoned decision granting defendants’ motions. (ECF No. 24, 25). The case was

sua sponte reinstated by Chief Judge James Bredar, and Judge Marvin Garbis was

assigned to replace Judge Motz, who retired the day of Judge Bredar’s ruling. Judge

Garbis reconsidered Judge Motz’s decision, but, after a hearing, dismissed plaintiffs’

claims, on the theory that Ms. Overbey had knowingly and voluntarily executed the

Settlement Agreement. (Mem., ECF 32.). The Court never addressed whether the

public interest in enforcing the NDA outweighed the public interest in free speech

on matters of public importance. The Brew’s First Amendment claims were

dismissed for lack of standing. (Id. at 15).

      Ms. Overbey and the Brew appealed Judge Garbis’ Order to the United

States Court of Appeals for the Fourth Circuit. Upon filing of the appeal, Mr. Davis

entered his appearance and took over as lead counsel for the City. The appeal was

briefed by the parties, as well as numerous amici curiae, including myriad media

and civil rights organizations, who weighed in in support of the plaintiffs, raising

the profile of the case and signifying its importance. The appeal was argued by the

parties on January 30, 2019, with Mr. Davis personally arguing for the City before




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his former colleagues.7 The Fourth Circuit reversed the district court’s order and

remanded for further proceedings consistent with its opinion. Likening the City’s

use of NDAs to payment of “hush money,” the Court of Appeals held that “the non-

disparagement clause in Overbey’s settlement agreement amounts to a waiver of

her First Amendment rights and that strong public interests rooted in the First

Amendment make it unenforceable and void.” Overbey v. Mayor of Balt., 930 F.3d

215, 222 (4th Cir. 2019). As to the Brew’s First Amendment claim, the Fourth

Circuit reversed the district court’s finding that the Brew lacked standing. The City

petitioned for a panel rehearing and a rehearing en banc, but both requests were

summarily denied. (Mandate, No. 17-2444, (4th Cir. Jul. 11, 2019), ECF 84.)

      Expressly based on the Fourth Circuit’s decision, the City of Baltimore

enacted legislation prohibiting the use of NDAs in future settlements of police

misconduct cases and voiding the applicability of the policy as to any outstanding

NDAs. On remand, plaintiffs filed a Motion for Summary Judgment citing the

Fourth Circuit’s opinion and requesting damages due to Ms. Overbey, plus interest

arising from the City’s withholding of her settlement amount. This Court granted

that Motion on September 21, 2020. Because of the City’s legislation prohibiting the

use of the offensive provisions, effectively granting the Brew the very relief it had

sought in this litigation, the Court dismissed its claim as moot. The City has since




7See, e.g., Brad Kutner, “Nondisclosure deals with police fought at Fourth Circuit,”
Courthouse News Service, January 30, 2019, https://www.
courthousenews.com/nondisclosure-deals-with-police-fought-at-4th-circuit/.


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paid Ms. Overbey all outstanding amounts. Plaintiffs’ efforts to resolve their

attorneys’ fees reimbursement without litigation were rebuffed by the City.

             Plaintiffs are the Prevailing Parties.

      As the U.S. Supreme Court has emphasized, “[w]here a plaintiff has obtained

excellent results, his attorney should recover a fully compensatory fee.” See Hensley

v. Eckerhart, 461 U.S. 424, 435 (1983). Indeed, this Court has stated, “a litigant is a

prevailing party for purposes of an attorney’s fees award ‘if they succeed on any

significant issue in litigation which achieves some of the benefit the parties sought

in bringing suit.’” Bd. of Educ. of Frederick Cnty. v. I. S., 358 F. Supp. 2d 462, 465

(D. Md. 2005) (quoting Hensley, 461 U.S. at 433) (hereafter “BOE”). The sweeping

relief won by the plaintiffs here leaves no doubt as to their satisfaction of the

prevailing plaintiff standard.

      Plaintiffs successfully appealed dismissal of their First Amendment claims to

the U.S. Court of Appeals for the Fourth Circuit, which reversed and remanded,

establishing an important precedent in the fight against governmental use of NDAs

to facilitate potential cover-up of police misconduct. As a result of the Fourth

Circuit’s decision—expressly because of this litigation—the City of Baltimore

enacted legislation prohibiting the use of its former NDA policy in all future

settlements of police misconduct cases and voiding the applicability of any

outstanding NDAs under the earlier policy. See Transparency and Oversight in

Claims and Litigation § 5-5, City of Baltimore Council Bill 19-0409, Ord. 19-320

(enacted Dec. 2, 2019); see also Fern Shen, Scott backs bill ending Baltimore’s use of

“gag orders” to settle police misconduct, discrimination suits, Baltimore Brew (Jul.
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18, 2019, 9:09 AM), https://www.baltimorebrew.com (reporting on Baltimore City

councilmembers’ announcement, one week after Fourth Circuit’s decision, of plan to

introduce legislation prohibiting City’s non-disparagement policy). The Fourth

Circuit’s decision holding Ms. Overbey’s NDA unenforceable, and the subsequent

legislative action by the City, fully vindicated the plaintiffs’ litigation position. Yet,

still, the City refused to pay Ms. Overbey the money it had denied her due to her

alleged violation of the unlawful NDA.

       On remand, the Court granted summary judgment in Ms. Overbey’s favor

and entered judgment against the Mayor and City of Baltimore in the amount of

$31,500 (the entirety of the settlement amount withheld from her by the City), plus

prejudgment interest.

       Plaintiffs are prevailing parties. The Court’s finding of liability and grant of

the requested damages, combined with the Fourth Circuit’s decision holding Ms.

Overbey’s NDA unenforceable and the City’s subsequent legislation voiding and

prohibiting any use of its former non-disparagement policy, constitute full

vindication of the relief sought by Ms. Overbey and the Baltimore Brew and justify

a fully compensatory attorneys’ fee. See Hensley, 461 U.S. at 435 (Excellent results

justify a fee award encompassing “all hours reasonably expended on the litigation,

and indeed in some cases of exceptional success an enhanced award may be

justified.”).

                Basis for Plaintiffs’ Fee Request

       In Hensley v. Eckerhart, 461 U.S. 424 (1983), and Blum v. Stenson, 465 U.S.

886 (1984), the Supreme Court established the framework and methodology for
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calculation of the amount of a reasonable attorneys’ fee to be awarded the

prevailing party. This “lodestar” calculation is based upon “the number of hours

reasonably expended on the litigation multiplied by a reasonable hourly rate” for

the attorney’s services. Hensley, 461 U.S. at 433; accord BOE, 358 F. Supp. 2d at

465. As guideposts in determining the lodestar, the Fourth Circuit and this Court

have each adopted the factors articulated by the Fifth Circuit in Johnson v. Georgia

Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974). See Barber v. Kimbrell’s, Inc.,

577 F.2d 216, 226 (4th Cir. 1978); BOE, 358 F. Supp. 2d at 465; Doe v Odenton

Volunteer Fire Co., No. RDB-08-1281, 2009 WL 3418567, at *1-2 (D. Md. Oct. 20,

2009).8 The Fourth Circuit has emphasized that the lodestar represents a

presumptively reasonable fee award. Buffington v. Baltimore Cnty., 913 F.2d 113,

127 n.11 (4th Cir. 1990), cert. denied, 499 U.S. 906 (1991); accord Pennsylvania v.

8   The Johnson factors are:
            1) time and labor expended;
            2) novelty and difficulty of the questions;
            3) skill required to perform properly the legal services rendered;
            4) attorney’s opportunity costs in pressing the litigation;
            5) customary fee for like work;
            6) attorneys’ expectations at the outset of the litigation;
            7) time limitation imposed by the client or circumstances;
            8) amount in controversy and the results obtained;
            9) experience, reputation, and ability of the attorneys;
            10) undesirability of the case;
            11) nature and length of the attorneys’ relationship with the client; and
            12) attorneys’ fees awards in similar cases.
BOE, 358 F. Supp. at 465-66.


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Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 565 (1986) (there is a

strong presumption that the lodestar figure represents a reasonable fee).

      After considering the relevant factors under this formula, and a reduction of

time and rates charged in counsel’s exercise of billing judgment, the lodestar fee

requested here is $643,966.21 based upon hours spent on the litigation to date by

plaintiffs’ attorneys, multiplied by their hourly rates. Additionally, plaintiffs

request reimbursement of $20,378.42 in litigation costs, for a total of $664,344.63.

      These fees are justified in litigation of this nature, which turned on complex

questions at the intersection of constitutional law and the law governing

agreements between private and government actors. The City itself acknowledged

the novelty and cutting-edge nature of this case, as well as the substantial burden

plaintiffs faced in succeeding. See Pet. for Reh’g and Reh’g En Banc, No. 17-2444

(4th Cir. Jul. 23, 2019), ECF 79 at 10 (“In the words of Overbey’s counsel Deborah

Jeon, Esq., this is ‘a cutting edge case at the intersection between free speech and

racial justice.’ In truth, the [Fourth Circuit’s] decision cuts much more than the

edge – it slices deep into areas of previously settled law . . .”); Opp. to Pl. Overbey’s

Mot. for Summ. J., No. 1:17-cv-1793-DKC (D. Md. Jan. 8, 2020), ECF 62 at 4 (“[N]o

reasonable person ever expected that [plaintiff’s] challenge would bear fruit.”).

More so, the events precipitating this lawsuit—concerning an earlier civil rights

lawsuit brought by Ms. Overbey, an African American woman of limited economic

means, against several police officers, for physical abuse and violations of her civil

liberties—gave this case heightened importance, both because of the inherent



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injustice of the NDA policy about which Ms. Overbey and the Brew were

complaining, and because of the heightened attention at this moment in history

being given (rightly) to the fraught relationship between police departments and

Black communities more generally.

      Even putting aside the particular facts of this case that make it historically

important, a First Amendment challenge to a government law or policy, particularly

in connection with restriction of speech concerning alleged police misconduct, raises

critical issues of public concern requiring adept and diligent lawyering, patience,

and perseverance. The importance of the constitutional issues in this case are

readily apparent, as the Fourth Circuit’s opinion has been cited in at least 19

federal court decisions9 and five secondary sources, including the Harvard Law

Review.10 Against the factual backdrop of this case, the requested award is well

within established standards, and consistent with awards that have been granted

by courts in comparable cases. See, e.g., Thompson v. U.S. Dep’t of Hous. & Urban

Dev., No. CIV.A. MJG-95-309, 2001 WL 1636517, at *2 (D. Md. Dec. 12, 2001)


9See, e.g., Cato Inst. v. United States Sec. & Exch. Comm'n, 438 F. Supp. 3d 44, n.6
(D.D.C. 2020); People for the Ethical Treatment of Animals, Inc. v. Stein, No.
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10See Fourth Circuit Holds That Nondisparagement Clause in Settlement With the
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(awarding $1,496,597.85 in interim fees in constitutional litigation); Rocky

Mountain Christian Church v. Bd. of Cnty. Comm’rs of Boulder Cnty., Colo, No. 06-

CV-00554-REB-BNB, 2010 WL 148289, at *7 (D. Colo. Jan. 11, 2010) (awarding

$1,252,327 in RLUIPA action); Pruett v. Harris Cnty. Bail Bond Bd., 593 F. Supp.

2d 944, 946 (S.D. Tex. 2008) (awarding $557,989 in fees and $30,473.83 in costs in

action challenging constitutionality of state statute on First Amendment grounds);

Rodriguez-Garcia v. Municipality of Caguas, 787 F. Supp. 2d 135, 149 (D.P.R. 2011)

($417,550.87 awarded in § 1983 action after appeal).

             The Hourly Rates Sought by Plaintiffs Reflect the Prevailing
             Market Rates in the Relevant Legal Community.

      The hourly rates used in calculating the lodestar should be the “prevailing

market rates in the relevant community.” Blum, 465 U.S. at 895; accord Plyler v.

Evatt, 902 F.2d 273 (4th Cir. 1990). The “relevant” market for determination of

hourly rates “is ordinarily the community in which the court where the action is

prosecuted sits.” Rum Creek Coal Sales, Inc. v. Caperton, 31 F.3d 169, 175 (4th Cir.

1994) (citing Nat’l Wildlife Fed’n v. Hanson, 859 F.2d 313 (4th Cir. 1988)). However,

where the nature of the case requires using attorneys from outside the local

community, the court may determine hourly rates by looking to the market of

counsel located elsewhere. Thompson v. U.S. Dep’t of Hous. & Urban Dev., 2001 WL

1636517, at *2 (D. Md. Dec. 12, 2001) (using Washington, D.C. market rates in

determining award of attorneys’ fees was appropriate where ACLU turned to D.C.

firm after its efforts to locate a Baltimore firm to take on complex civil rights case

were unsuccessful). The market rate for a particular attorney “may be proved by the


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rate which clients normally and willingly pay the petitioning attorneys.” Id. For

lawyers at a nonprofit public interest organization like the ACLU, who have no

normal hourly billing rate, market rates for similarly situated private firm lawyers

are used as a gauge.11 The lodestar should be calculated using current, rather than

historic, rates, in order to offset the effects of inflation and lost interest resulting

from delay in payment of fees. Missouri v. Jenkins, 491 U.S. 274, 283-84 (1989);

Daly v. Hill, 790 F.2d 1071 (4th Cir. 1986).

       Plaintiffs in this case were represented by attorneys from the ACLU and the

Washington, D.C. office of Crowell & Moring. As explained by ACLU Legal Director

Deborah A. Jeon, given that this was a significant First Amendment case against

the City of Baltimore, the ACLU included firms in Washington, D.C. rather than

just Maryland in its search to recruit pro bono co-counsel because local Maryland

firms are less willing to take on pro bono matters for the ACLU of Maryland when

the target of the suit is the City government. See Jeon Decl. ¶ 11. Over a search

that lasted several months, no Baltimore firm signed on to assist with the case,

leading ultimately to the ACLU’s engagement with Crowell & Moring.

       As set forth in the Declaration of Daniel W. Wolff, the Crowell & Moring

attorneys have requested the following Laffey billing rates, which are substantially

lower than those that they regularly charge to their paying clients:


11It is well established that the amount of a fee award should not “vary depending
on whether plaintiff was represented by private counsel or by a nonprofit legal
services organization.” Blum, 465 U.S. at 894; accord Dameron v. Sinai Hosp. of
Baltimore, Inc., 644 F. Supp. 551, 557 (D. Md. 1986).


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Name                               Yrs. in       Firm        Laffey      Percentage
                                   Practice      Rate        Rate        Reduction
Daniel W. Wolff                    19            $850        $759        10.71%
Alexandra Nkechi Kanu              6             $740        $465        37.16%
Tyler A. O’Connor                  6             $740        $465        37.16%
Brian C. Lewis                     5             $705        $465        34.04%
Benjamin Wastler12                 10            $655        $440        32.82%

       These rates are reasonable in light of the experience and expertise of the

Crowell attorneys who worked on this case. See Decl. of Daniel W. Wolff, attached

hereto; see also Decl. of Susan Hoffman, attached hereto. Moreover, these rates are

in line with the Updated Laffey Matrix (also known as the LSI/Salazar Laffey

Matrix),13 which has been recognized as “provid[ing] reimbursement rates that are

broadly in line with prevailing rates for legal services in complex federal litigation

in the Washington, D.C. area.” Young v. Sarles, 197 F. Supp. 3d 38, 49 (D.D.C.

2016); see, e.g., Salazar v. District of Columbia, 809 F.3d 58, 65 (D.C. Cir. 2015)

(approving use of the Updated Laffey Matrix for calculating attorneys’ fee award in

42 U.S.C. § 1983 lawsuit); Young, 197 F. Supp. 3d at 46-50 (use of LSI/Salazar

Matrix rates to determine attorneys’ fees in First Amendment civil rights case was

presumptively reasonable); Thompson v. U.S. Dep't of Hous. & Urban Dev., 2001

WL 1636517, at *8 (D. Md. Dec. 12, 2001) (finding it appropriate to award attorneys’




12Whereas the general practice is to use current rates in calculating the lodestar,
the rate listed for Mr. Wastler is the rate he charged paying clients at the time of
his departure from Crowell in 2018.
13The Updated Laffey Matrix (available at http://www.laffeymatrix.com/see.html) is
adjusted for inflation using the Legal Services Index of the nationwide Consumer
Price Index. Young v. Sarles, 197 F. Supp. 3d 38, n.1 (D.D.C. 2016).


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fees at Washington, D.C. market rates and that federal courts in Washington, D.C.

employ the annually adjusted Laffey Matrix rates in determining market rates).

      ACLU Legal Director Deborah A. Jeon—a graduate of Yale Law School with

34 years of experience as a civil rights lawyer—seeks fees based on an hourly rate of

$475, a rate significantly lower than the $625 rate she could charge as an attorney

at a private firm in Baltimore. See Jeon Decl.; and Decl. of Andrew Freeman,

attached hereto. Likewise, legal fees are sought on behalf of the following ACLU

personnel: ACLU attorney Nicholas Taichi Steiner, a 2015 law school graduate, at

the reduced rate of $240 per hour; and ACLU paralegals Amy Cruice and Gina

Elleby, at the reduced rates of $150 per hour. Id.

      As set forth in the Declaration of Andrew Freeman—an attorney with

substantial experience and knowledge concerning market rates for attorneys’ fees

litigation in the Baltimore area—the rates sought by plaintiffs for the ACLU

lawyers and paralegals are below the prevailing market rates in the relevant local

legal community for attorneys and paralegals of similar experience and

qualifications. See Freeman Decl. ¶ 12. The reduced Washington, D.C. market rates

sought by Crowell & Moring attorneys are higher than the Maryland guideline

rates in the Rules and Guidelines for Attorneys’ Fees in Certain Cases, U.S. Dist. Ct.

Rules Md. App. B (Dec. 1, 2018), but the guideline rates have not been adjusted

since 2014. As attested to by Mr. Freeman, the reduced rates sought for Crowell &

Moring’s attorneys are only slightly higher than current Baltimore market rates.

As attested to by Mr. Wolff, those reduced rates are substantially below Crowell &



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Moring’s standard rates (Wolff Decl. ¶23), and have been recognized by courts as

being in line with market rates for complex federal litigation in the Washington,

D.C. area. E.g., Young, 197 F. Supp. 3d at 49. The guidelines explicitly recognize

that they are “intended solely to provide practical guidance,” and that “[t]he factors

established by case law [i.e., evidence of market rates] obviously govern over them,”

and “[t]he Court recognizes that there are attorneys for whom . . . the market rate

differs from these guidelines rates. Id. at n.6.

             The Case Staffing and Number of Hours Billed are Reasonable
             and Appropriate.

      Three ACLU staff attorneys—Deborah Jeon, David Rocah, and Nicholas

Taichi Steiner—were involved in the development and litigation of this case.

Throughout the course of litigation, up until the most recent phase involving

recovery of attorneys’ fees, attorneys from Crowell & Moring have taken the role as

lead counsel, with ACLU attorneys serving in a more limited capacity on the case.

See Jeon Decl. ¶ 12. As Mr. Wolff attests in his declaration, Crowell & Moring

staffed this pro bono case in the same manner as the firm would staff a comparable

matter for a paying client. See Wolff Decl. ¶ 19. Crowell & Moring staffed the case

with a supervising partner and several counsel and associate lawyers, at different

levels of experience, and support staff.14 See id.


14Over the course of three-plus years, the case was staffed by the following Crowell
attorneys: partner Daniel Wolff (a 2001 law school graduate), who supervised the
case for the firm; counsel Alexandra Nkechi Kanu (2014 graduate); counsel Tyler
O’Connor (2014 graduate); associate Benjamin Wastler (2010 graduate); and
associate Brian Lewis (2015 graduate). Mr. Wastler left the firm in early 2018, so no
billing is included for him after that time. Although these five Crowell attorneys are
(Continued...)
                                           16
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      A fully compensatory fee “will encompass all hours reasonably expended.”

Hensley, 461 U.S. at 435. Even though all the time expended and work performed

by plaintiffs’ counsel was reasonable and necessary, counsel have exercised billing

judgment by eliminating time involving duplicative work or excessive work. For

example, plaintiffs have eliminated charges for all time spent on the case by three

Crowell & Moring partners, three Crowell & Moring associates, and numerous

Crowell & Moring support staff, resulting in a reduction of 506 hours, as well as all

time spent on the case by ACLU attorney David Rocah15 and ACLU law clerk Abby

Nyantaki, resulting in a reduction of 51.2 hours.

      As previously detailed above, plaintiffs’ counsel necessarily performed

extensive legal work in this case. Plaintiffs’ counsel have carefully documented their

time expenditures and exercised billing judgment to ensure the reasonableness of

their overall fee request. See Jeon Decl, Ex. 1; and Wolff Decl., Ex. 1. Plaintiffs’

counsel has taken care to organize this fee application and its supporting records in

accordance with this Court’s Rules and Guidelines.




________________________
the only ones for whom fee recovery is sought, several additional firm personnel
worked on the matter, including partners Clifton Elgarten (1979 graduate), Richard
Lehfeldt (1982 graduate), and Thomas Lorenzen (1985 graduate); and associates
Charles Austin (2013 graduate), Michelle Adesola Onibokun (2018 graduate), and
John Arszulowicz (2019 graduate); as well as various support staff. Plaintiffs, in
diligently exercising billing judgment, have decided to forego recovery for the work
of these additional personnel.
15 Mr. Rocah is an attorney with First Amendment expertise and more than twenty-
five years of experience.


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      Compensation is sought for work in the following categories:16

             1.     Case Development, Background Investigation, and Case
                    Administration

      Plaintiffs’ initial case investigation began in late 2015, when Ashely Overbey

contacted the ACLU and raised the possibility of challenging the City of Baltimore’s

enforcement of its NDA against her in order to withhold half of settlement proceeds

from her underlying police abuse case. The ACLU subsequently discussed this

issue with journalists, including the Baltimore Brew, who raised their own concerns

about how these clauses chilled their First Amendment rights to engage in

newsgathering activity. In February of 2016, the ACLU engaged with Crowell &

Moring to begin working on the case. For the remainder of 2016 and into 2017, the

ACLU staff and Crowell & Moring attorneys investigated the issues and worked on

developing the theory for the novel legal challenge to the government-imposed

NDAs.

      In their exercise of billing judgment, plaintiffs’ counsel are reducing time

spent in the case development phase by eliminating numerous charges for work by

the Crowell & Moring attorneys listed below, as well as also eliminating all time for

work done by Crowell & Moring support staff. This accounts for a deduction of 91.75

hours and $30,633. To ensure against duplication or overlap of efforts among

counsel in this phase of the case, plaintiffs are also voluntarily applying a 10

percent across-the-board reduction to the remaining fees being charged by Crowell

16If a litigation phase is omitted, no compensation is sought for work in that
category.


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& Moring attorneys for work done during this phase, resulting in a savings of

$12,733.80. Furthermore, plaintiffs are entirely cutting out time by ACLU attorney

David Rocah and ACLU law clerk Abby Nyantakyi, for an additional reduction of 49

hours.

         Plaintiffs seek recovery of 323 (of 463.75) hours spent by plaintiffs’ counsel in

the Case Development, Investigation, and Administration phase, at a value of

$146,363.70, broken down as follows:

 Case Development, Background Investigation, and Case Administration
Name                    Hours Expended       Hours Billed Fees Charged
Daniel W. Wolff                       59.75           55.50    $42,125.00
Alexandra Nkechi Kanu                 60.00           46.25    $21,506.00
Tyler A. O’Connor                     69.75           59.75    $27,784.00
Benjamin Wastler                      94.50             79.0   $34,760.00
Brian C. Lewis                        3.250             2.50    $1,162.50
Crowell support staff                 47.50             0.00        $0.00
         Crowell Totals             334.75           243.00   $127,338.00
                                 After 10% reduction to fees: $114,604.20

Deborah Jeon                                    60.3              60.3        $28,642.50
David Rocah                                      0.5               0.0             $0.00
Nicholas Steiner                                 1.8               1.8           $432.00
Gina Elleby                                     17.3              17.3         $2,595.00
Amy Cruice                                       0.6               0.6            $90.00
Abby Nyantakyi                                  48.5               0.0             $0.00
          ACLU Totals                          129.0              80.0        $31,759.50

Grand Totals                                 463.75              323.0       $146,363.70

               2.     Pleadings

         Counsel devoted necessary time examining the facts and researching the law

to prepare the complaint and related papers.




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      In their exercise of billing judgment, plaintiffs’ counsel are reducing time

spent in the pleadings phase by not seeking fees for any of the work done by Crowell

& Moring summer associate Michelle Onibokun or any Crowell & Moring support

staff, and eliminating a substantial number of charges for work by the Crowell &

Moring attorneys listed below. This accounts for a deduction of 116 hours and

$42,206. Moreover, to ensure against duplication or overlap counsels’ efforts in this

phase of the case, plaintiffs are voluntarily applying a 10 percent across-the-board

reduction to the remaining fees charged by Crowell & Moring attorneys for work

done during this phase, resulting in an additional deduction of $9,795.20.

      Plaintiffs seek recovery of 229.3 (of 345.3) hours spent by plaintiffs’ counsel

in the Pleadings phase, at a value of $102,559.30, broken down as follows:

                                     Pleadings
Name                       Hours Expended Hours Billed Fees Charged
Daniel W. Wolff                         37.50          30.75   $23,339.00
Alexandra Nkechi Kanu                   54.50          44.00   $20,460.00
Tyler A. O’Connor                       17.50          14.50    $6,743.00
Benjamin Wastler                      150.00          107.75   $47,410.00
Michelle Onibokun                       32.25               0       $0.00
Crowell support staff                   21.25               0       $0.00
            Crowell Totals               313              197  $97,952.00
                                  After 10% reduction to fees: $88,156.80

Deborah Jeon                                    28.3            28.3       $13,442.50
Nicholas Steiner                                 4.0             4.0          $960.00
              ACLU Totals                       32.3            32.3       $14,402.50

Grand Totals                                   345.3          229.3       $102,559.30




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             3.     Motions Practice (Round I)

      After plaintiffs filed their complaint, the Baltimore Police Department and

the City each filed motions to dismiss or for summary judgment. Plaintiffs’ counsel

devoted a significant amount of time to researching and drafting plaintiffs’

opposition papers to the defendants’ motions. The case was initially dismissed by

Judge Motz, without argument on the motions papers, but soon thereafter was re-

opened and re-assigned to Judge Garbis. See ECF 26; ECF 28. Plaintiffs drafted

and filed a motion for reconsideration, then prepared for and presented argument

on behalf of plaintiffs at a hearing before Judge Garbis in November 2017. See

Wolff Decl. ¶ 16.

      While the time expended all was necessary to the case, in their exercise of

billing judgment, plaintiffs have elected to reduce the time spent in the Motions

Practice (Round I)17 phase by eliminating from this request numerous charges for

work by the Crowell & Moring attorneys to address potential duplication of efforts

and communications among counsel, as well as also eliminating all time for work

done by Crowell & Moring support staff. This accounts for a deduction of 93.25

hours and $27,335. Plaintiffs also are applying a 10 percent across-the-board




17In the interest of clarity, this memorandum separates time entries for the
“motions practice” litigation phase into two rounds: one for motions work done
before the appeal, and one for motions work done after remand. The ACLU “Motions
practice” phase time entries with dates on or before November 30, 2017 are included
in Motions Practice (Round I) and “Motions practice” phase time entries with dates
on or after December 14, 2019 are included in Motions Practice (Round II).


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reduction to the remaining fees for work by Crowell & Moring attorneys during this

phase, resulting in an additional deduction of $11,894.40.

       Plaintiffs seek recovery of 270.1 (of 363.35) hours spent by plaintiffs’ counsel

in the Motions Practice (Round I) phase, at a value of $117,306.60, broken down as

follows:

                            Motions Practice (Round I)
Name                           Hours Expended Hours Billed Fees Charged
Daniel W. Wolff                                46.25          42.75         $32,447.00
Alexandra Nkechi Kanu                          28.75          26.75         $12,439.00
Tyler A. O’Connor                              56.00          49.50         $23,018.00
Benjamin Wastler                             136.00          116.00         $51,040.00
Crowell support staff                          61.25            0.00             $0.00
            Crowell Totals                   328.25          235.00        $118,944.00
                                         After 10% reduction to fees:      $107,049.60

Deborah Jeon                                     7.8             7.8         $3,705.00
Nicholas Steiner                                27.3            27.3         $6,552.00
              ACLU Totals                       35.1            35.1        $10,257.00

Grand Totals                                 363.35            270.1       $117,306.60

             4.     Appellate Practice

       Upon dismissal by Judge Garbis, plaintiffs pursued an appeal before the

Fourth Circuit. See ECF 34. Plaintiffs’ counsel devoted significant time to

researching and drafting an opening brief, analyzing defendants’ response brief,

researching and drafting a reply brief, and preparing for and presenting oral

argument on behalf of plaintiffs-appellants to the Fourth Circuit in January 2019.

The Fourth Circuit reversed Judge Garbis and remanded the matter to this Court.

See Wolff Decl. ¶ 18; Overbey v. Mayor of Balt., 930 F.3d 215 (4th Cir. 2019).

Defendants then sought en banc reconsideration of the panel decision. Plaintiffs’

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counsel devoted additional time and effort to rebutting defendants’ request. The

Fourth Circuit denied reconsideration on July 11, 2019.

      Although the time expended on the successful appeal was vital to the case, in

their exercise of billing judgment, plaintiffs have elected to reduce the time spent in

the Appellate Practice phase by eliminating numerous charges for work by Crowell

& Moring attorneys, including all time for work done by Crowell & Moring partners

Clifton Elgarten, Richard Lehfeldt, and Thomas Lorenzen—who, consistent with

Crowell & Moring’s appellate practice for any client, assisted with moot

arguments—as well as all time for associates Charles Austin and Ben Wastler.18

This accounts for a deduction of 317 hours and $110,383.25. Plaintiffs also have

applied a 10 percent across-the-board reduction to the remaining fees for work by

Crowell & Moring attorneys during this phase, resulting in a savings of $19,002.

      Plaintiffs seek recovery of 414.6 (of 639.5) hours spent by plaintiffs’ counsel

in the Appellate Practice phase, at a value of $209,118.50, broken down as follows:




18Mr. Elgarten is an experienced appellate attorney and former U.S. Supreme
Court law clerk; Mr. Lorenzen also has extensive appellate experience, having
briefed, argued, or supervised hundreds of appellate matters in private practice and
the U.S. Department of Justice; and Mr. Austin previously served as a law clerk at
the U.S. Court of Appeals for the Fourth Circuit. Wolff Decl. ¶¶ 11-12.


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                                 Appellate Practice
Name                       Hours Expended Hours Billed Fees Charged
Daniel W. Wolff                       143.25          136.25   $103,413.75
Alexandra Nkechi Kanu                 103.75           80.75    $37,548.75
Tyler A. O’Connor                     125.25          105.50    $49,057.50
Other Crowell attorneys19               67.75            0.00        $0.00
Crowell support staff                 199.50             0.00        $0.00
            Crowell Totals             639.5          322.50   $190,020.00
                                  After 10% reduction to fees: $171,018.00

Deborah Jeon                                    68.3            68.3        $32,442.50
Nicholas Steiner                                23.2            23.2          $5568.00
Gina Elleby                                      0.6             0.6            $90.00
              ACLU Totals                       92.1            92.1        $38,100.50

Grand Totals                                   731.6           414.6       $209,118.50

             5.     Settlement

      Shortly after initially filing suit, and again after the Fourth Circuit held the

challenged NDA unenforceable on policy grounds rooted in the First Amendment,

reversing and remanding to this Court, plaintiffs and their counsel made good faith

efforts to avoid further litigation and resolve the matter by settling with the City.

However, settlement talks concluded without the parties able to reach an

agreement.

      In order to be as reasonable as possible, plaintiffs have exercised billing

judgment to reduce the time being sought for the Settlement phase by eliminating

all time for work done by Crowell & Moring attorneys Tyler O’Connor and Ben

Wastler, and Crowell & Moring support staff. This accounts for a deduction of 6.75


19This includes the combined time for Messrs. Elgarten, Lorenzen, Lehfeldt, Austin,
and Wastler.


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hours and $2,710. Plaintiffs are applying a 10 percent across-the-board reduction to

the remaining fees for work by Crowell & Moring attorneys during this phase,

resulting in an additional deduction of $1,043.60.

      Plaintiffs seek recovery of 30.15 (of 37.4) hours spent by plaintiffs’ counsel in

the Settlement phase, at a value of $17,182.40, broken down as follows:

                                   Settlement
Name                            Hours Expended         Hours Billed Fees Charged
Daniel W. Wolff                                 14.5          13.75         $10,436.00
Tyler A. O’Connor                               2.25            0.00             $0.00
Ben Wastler                                     1.50            0.00             $0.00
Crowell support staff                           2.25            0.00             $0.00
            Crowell Totals                      20.5          13.75         $10,436.00
                                         After 10% reduction to fees:        $9,392.40

Deborah Jeon                                    16.4            16.4         $7,790.00
Sonia Kumar                                      0.5             0.0             $0.00
                  ACLU Totals                   16.9            16.4         $7,790.00

Grand Totals                                    37.4           30.15        $17,182.40

             6.      Motions Practice (Round II)

      After remand to this Court and unsuccessful settlement efforts, it was

necessary for plaintiffs’ counsel to research and prepare Ms. Overbey’s motion for

summary judgment on liability and damages, to analyze defendants’ opposition

brief, and to research and draft a brief in reply.

      In their exercise of billing judgment, plaintiffs’ counsel are reducing time

spent in this litigation phase by eliminating from this request numerous charges for

work by the Crowell & Moring attorneys listed below, as well as all work done by

counsel Alexandra Nkechi Kanu, associate John Arszulowicz, and Crowell & Moring


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multiple support staff. This accounts for a deduction of 55 hours and $18,653.75.

Plaintiffs are applying a 10 percent across-the-board reduction to the remaining

fees charged for Crowell & Moring attorneys work in this phase, resulting in a

savings of $2,281.72.

       Plaintiffs seek recovery of 55.65 (of 110.65) hours spent by plaintiffs’ counsel

in the Motion Practice (Round II) phase, at a value of $25,120.53, broken down as

follows:

                           Motions Practice (Round II)
Name                          Hours Expended Hours Billed Fees Charged
Daniel W. Wolff                                 6.75            5.25         $3,984.75
Tyler A. O’Connor                              27.00          25.50         $11,857.50
Brian C. Lewis                                 16.50          15.00          $6,975.00
Other Crowell attorneys20                      29.00            0.00             $0.00
Crowell support staff                          21.50            0.00             $0.00
            Crowell Totals                   100.75           45.75         $22,817.25
                                         After 10% reduction to fees:       $20,535.53

Deborah Jeon                                     9.4              9.4        $4,465.00
Nicholas Steiner                                 0.5              0.5          $120.00
              ACLU Totals                        9.9              9.9        $4,585.00

Grand Totals                                 110.65            55.65        $25,120.53

             7.     Fee Petition Preparation

       The time and expenses required for the preparation of a motion requesting

attorneys’ fees and costs are compensable. Ganey v. Garrison, 813 F.2d 650, 652

(4th Cir. 1987). Preparing a proper fee application is necessarily time-consuming,

nevertheless, plaintiffs’ counsel nevertheless have exercised billing judgment by

20This includes the combined times for counsel Ms. Kanu and associate Mr.
Arszulowicz.


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deducted a portion of the hours spent in the Fee Petition phase by eliminating a

number of charges for work by the Crowell & Moring attorneys among counsel,

including all work done by counsel Alexandra Nkechi Kanu and Crowell & Moring

support staff. This accounts for a deduction of 45.50 hours and $12,395.25.

Additionally, plaintiffs are making a 10 percent across-the-board reduction to the

remaining fees charged by Crowell & Moring attorneys for this phase, resulting in

an additional deduction of $2,335.57.

       Plaintiffs seek recovery of 58.65 (of 104.15) hours21 spent by plaintiffs’

counsel in the Fee Petition phase, at a value of $26,315.18, broken down as follows:

                             Fee Petition Preparation
Name                           Hours Expended Hours Billed Fees Charged
Daniel W. Wolff                                 6.75            5.50          $4,174.50
Tyler A. O’Connor                               6.50            5.25          $2.441.25
Brian C. Lewis                                 40.75          36.00          $16,740.00
Alexandra Nkechi Kanu                           3.00            0.00              $0.00
Crowell support staff                          35.25            0.00              $0.00
            Crowell Totals                    92.25           46.75          $23,355.75
                                         After 10% reduction to fees:        $21,020.18

Deborah Jeon                                    10.8             10.8         $5,130.00
Amy Cruice                                       1.1              1.1           $165.00
               ACLU Totals                      11.9             11.9         $5,295.00

Grand Totals                                 104.15             58.65        $26,315.18




21Plaintiffs are seeking recovery in this memorandum of the ACLU’s fees and costs
through October 17, 2020, and Crowell & Moring’s fees and costs through October
30, 2020, and will provide a supplement in their reply memorandum.


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             Plaintiffs Should Also Recover Their Costs.

      The Fourth Circuit has held that plaintiffs who are entitled to attorneys’ fees

are also entitled to recover their reasonable expenses as part of the award of

attorneys’ fees. See, e.g., Daly, 790 F.2d at 1084; Wheeler v. Durham City Bd. of

Educ., 585 F.2d 618 (4th Cir. 1978). Other costs also may be awarded pursuant to

28 U.S.C. § 1920.

      Under the Fourth Circuit standard articulated in Daly and Wheeler, plaintiffs

should be awarded all reasonable expenses as part of their attorneys’ fees:

      Litigation expenses such as supplemental secretarial costs, copying,
      telephone costs and necessary travel, are integrally related to the work
      of an attorney and the services for which outlays are made may play a
      significant role in the ultimate success of litigation . . . .

Wheeler, 585 F.2d at 623-24; see also 122 Cong. Rec. at 12,160 (daily ed. Oct. 1,

1976) (quoting the House debate on §1988 as follows: “the phrase ‘attorneys’ fee’

would include the value of the legal services provided by counsel, including all

necessary expenses incurred in furnishing effective and competent

representation.”).

      As reflected in the accounting of costs attached to the Declarations of Mr.

Wolff (Exhibit 2 thereto) and Ms. Jeon (Exhibit 2) plaintiffs seek a total of

$20,378.42 in litigation-related expenses. These expenses are of the type normally

charged to fee-paying clients, and are documented by contemporaneous records.

Moreover, these expenses are of the sort specifically covered by this Court’s Rules

and Guidelines. See U.S. Dist. Ct. Rules Md. App. B at 4.a-4.c (Dec. 1, 2018).




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                                   CONCLUSION

      For all the foregoing reasons, plaintiffs ask this Court to grant this motion

and award plaintiffs the attorneys’ fees and costs as detailed herein. Plaintiffs’

counsel seek compensation only for work reasonably necessary to successful pursuit

of plaintiffs’ claims, and should be awarded attorneys’ fees commensurate with the

substantial public service they have achieved. Plaintiffs should be granted the full

compensation requested in this reasonable Memorandum in Support of Plaintiffs’

Motion Requesting Attorneys’ Fees and Costs. This includes attorneys’ fees of

$643,966.21, and expenses of $20,378.42, for a total of $664,344.63.

                                            Respectfully submitted,

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      November 9, 2020




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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing Memorandum In

Support of Plaintiffs’ Motion Request Attorneys’ Fees and has been served via the

CM/ECF electronic filing system on this 9th day of November, 2020, upon all parties

of record:



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